                                                Case 3:23-cv-00077-EMC Document 170 Filed 11/20/23 Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                         TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                              Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                         CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                              Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Ruby Atienza                                                                    (650) 600-5106                                                            Ruby.Atienza@wilmerhale.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Sonal N. Mehta                                                                  (650) 858-6000                                                            Sonal.Mehta@wilmerhale.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                 5. CASE NAME                                                                              6. CASE NUMBER
Wilmer Cutler Pickering Hale and Dorr LLP
2600 El Camino Real, Ste. 400                                                                              Meta Platforms, Inc. v. Bright Data Ltd.                                                  3:23-cv-00077
Palo Alto, CA 94306
                                                                                                          8. THIS TRANSCRIPT ORDER IS FOR:
                                                              ✔ FTR
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND &+(&.%2; ȹޫ                                           ޫ APPEAL           ޫ CRIMINAL         ޫ In forma pauperis (NOTE: Court order for transcripts must be attached)
Christine Coaly                                                                                           ޫ NON-APPEAL       ✔ CIVIL
                                                                                                                             ޫ                  CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                            c.        DELIVERY TYPE ( Choose one per line)
                                                                                                  with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                    PORTION                       PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,    (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)

11/16/2023          EMC              MSJ                                                      {           {           {          {           {           {             {         {          {         {            {          {
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                             12. DATE
11. SIGNATURE
                 /s/ Sonal N. Mehta                                                                                                                                              11/20/2023


         Clear Form                                                                                                                                                                         Save as new PDF
